Case 1:22-cv-21984-KMW Document 7 Entered on FLSD Docket 07/21/2022 Page 1 of 1



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


 ALEJANDRO ESPINOZA,                                           CASE NO.: 1:22-cv-21984-KMW

        Plaintiff,

 vs.

 YNAP CORPORATION,
 d/b/a FERRARI S.P.A/SCUDERIA
 FERRARI ONLINE STORE,
 A foreign for-profit corporation

       Defendant,
 ____________________________________________/

                                   NOTICE OF SETTLEMENT

 Plaintiff, ALEJANDRO ESPINOZA by and through his undersigned counsel, hereby gives the
 Court notice that Plaintiff, ALEJANDRO ESPINOZA and Defendant, YNAP CORPORATION
 DBA FERRARI S.P.A/SCUDERIA FERRARI ONLINE STORE, have reached a settlement in
 this matter. The parties are finalizing the settlement documents and will file a Joint Stipulation of
 Dismissal in the near future.


                                                               Respectfully Submitted,

                                                               MENDEZ LAW OFFICES, PLLC
                                                               Attorney for Plaintiff
                                                               P.O. BOX 228630
                                                               Miami, Florida 33172
                                                               Telephone: 305.264.9090
                                                               Facsimile: 305.809.8474
                                                               Email:info@mendezlawoffices.com
                                                               By: /s/ Diego German Mendez
                                                               DIEGO GERMAN MENDEZ, ESQ.
                                                               FL BAR NO.: 52748

                                                    ###
